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                             10370 Richmond Avenue, Ste 850
(281) 805-7169 (main line)          Houston, Texas 77042                    (281) 805-7172 (fax)
https://www.mosaicparadigm.com

                                         July 7, 2023


Via Electronic Mail and CMRRR Tracking No. 7020 1290 0001 1380 1595
Binder Science LLC
Attn.: Tom Wentzler
tomwentzler@binderscience.com
9391 Grogans Mill Road, Suite A-1
The Woodlands, Texas 77380

Re:    Purchase Order Nos. 0201202209TW, 0422202202TG, 0422202203TG, 0201202201TW,
       0609202202TG, 0505202203TG, 0505202202TG, 0511202201TG, 0330202307TG,
       0330202305TG, 0330202306TG, 0330202302TG, and 0330202301TG, together with
       corresponding invoices; Past Due Balance Owed to Dragon Stone Energy, Ltd.:
       $7,815,700.00


      LETTER OF REPRESENTATION & FINAL DEMAND FOR PAYMENT

Dear Mr. Wentzler:

        Please be advised that our firm has been retained by Dragon Stone Energy Ltd. (“DSE”) in
connection with the above-referenced matter. I am writing today in connection with
$7,815,700.00 in past due invoices owed to my client as of July , 2023. Kindly forward this
correspondence to your legal counsel, and direct all future communications concerning this
matter to our office.

        As you know, beginning in or around February 1, 2022, and continuing thereafter, Binder
Science, LLC (“Binder Science”) contracted with DSE to purchase oilfield chemicals (“Goods”)
pursuant to various purchase orders and related documents (collectively, “Agreements”).
Under the Agreements, DSE was to deliver certain Goods. In turn, Binder Science was obligated
to pay DSE in full within sixty (60) calendar days from the date of delivery. DSE performed its
obligation under the Agreements by delivering Goods to Binder Science. DSE issued
corresponding invoices requesting payment. However, Binder Science failed to make payments
to DSE when due. Such actions by Binder Science are a clear breach of the Agreements between
the parties.
        DSE became reasonably concerned by Binder Science’s accumulating debt in the millions
of dollars. The parties went back and forth on demands for payment from DSE and delays from
Binder Science. Although Binder Science has made some payments on the subject invoices, which



                                                                                EXHIBIT 2
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payments DSE has already credited to Binder Science's account, such payments represented only
a small portion of the debt that has come due, causing DSE to reconsider future sales to Binder
Science.

         On or about March 24, 2023, Binder Science acknowledged its obligation to DSE and
induced DSE to continue selling the Goods to Binder Science by offering to settle its past-due
debt. Binder Science proposed that it would make a payment to DSE of $500,000.00 by March 24,
2023, and weekly payments of $500,000.00 thereafter until the outstanding balance owed to DSE
at that point was paid in full. DSE accepted this proposal, thus creating a settlement agreement as
to invoices outstanding through March 23, 2023 (“Settlement Agreement”). Relying on this
settlement of past due invoices as of the date of the meeting, DSE continued to supply Binder
Science with Goods to its detriment. Binder Science failed to make payments as agreed, thus
breaching the Settlement Agreement. Should Binder Science now deny the settlement agreement,
Binder Science has arguably committed fraud.

       On May 4, 2023, the parties met at the offices of Binder Science to discuss Binder Science’s
breach, as well as additional invoices that had come due but were unpaid. Binder Science again
acknowledged its obligation to DSE and offered to cure its default by making weekly payments to
DSE of at least $350,000.00 but up to $1,000,000.00 beginning on May 4, 2023, until all
outstanding amounts as of that date were paid in full. Binder Science stated it would confirm the
amount of the exact payment to be made in writing on the week prior to payment. DSE agreed.

       Relying on Binder Science’s representations and assurances, DSE continued to supply
Binder Science with Goods to its detriment. Binder Science again failed to make payments as
agreed, thus breaching the modified Settlement Agreement. On June 12, 2023, Binder Science
again acknowledged its obligation to DSE and again offered to cure its default by making payments
to DSE of $300,000.00 on June 12, 2023; $200,000.00 on June 13, 2023; and $350,000.00 at 3:00
p.m. every Friday beginning on June 23, 2023, until all outstanding amounts as of that date were
paid in full. Every two weeks, the parties would convene to discuss whether increasing these
payments to $500,000.00 would be feasible. DSE agreed. On June 30, 2023, Binder Science
breached this agreement as well and has failed to cure the same, to date.

        Considering Binder Science’s misconduct outlined above, I have been authorized by DSE
to extend a demand for payment in the amount of SEVEN MILLION EIGHT HUNDRED AND
TWENTY THOUSAND AND SEVEN HUNDRED DOLLARS AND 00/100 CENTS
($7,820,700.00), which amount is broken down as follows:




                                                                                   EXHIBIT 2
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           1. $7,815,700.00, which represents the unpaid amount on only past due invoices,
              to date1; and

           2. An additional $5,000.00 for reasonable and necessary attorney’s fees incurred
              by DSE to engage our firm to demand payment on this past due account, which
              fees continue to accrue.
       Binder Science shall make payment in full directly to DSE on or before July 20, 2023, as
follows:

           DRAGON STONE ENERGY LTD.
           Account #:  2377836
           Routing #:  071000288
           Swift Code: HATRUS44

        This correspondence constitutes a FINAL DEMAND for Binder Science to remedy the
foregoing dispute, failing which DSE will immediately commence legal action and seek all relief
to which it is entitled in law and in equity. According to our analysis, this demand represents
tremendous savings to Binder Science given its potential exposure to liability for breach of contract
or fraud and associated attorney’s fees. You are hereby advised that in no event shall this demand,
any payment on past due invoices, or any settlement of past due invoices be construed as a
settlement of invoices that have been issued by DSE but have not come due as of the date of this
demand. Furthermore, nothing herein should be construed to be a waiver of any of DSE’s rights,
remedies, claims, or defenses whatsoever.

         Should you have any questions or concerns, please do not hesitate to contact me at the
office, (281) 805-7169, or via email at hghafoor@mp-lg.com. Your prompt attention to this matter
is greatly appreciated.

                                                                Warmest regards,



                                                                Henna Ghafoor
                                                                Attorney at Law

cc:        Tyler Gideon (tgideon@binderscience.com)
           Kevin Cunningham (KCunningham@binderscience.com)


1
    Exhibit 1, Summary of Invoices (past due invoices have been highlighted).



                                                                                      EXHIBIT 2
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